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                    UNITED STATES of AMERICA
        EASTERN DISTRICT OF MICHIGAN -- SOUTHERN DIVISION

LEROY POOLE,

       Plaintiff,                            DEMAND FOR JURY TRIAL

-vs-                                         Case No. 21-11349
                                             Hon. Sean F. Cox

ALLIED INTERSTATE LLC, et al.

       Defendants.

                          NOTICE OF SETTLEMENT

       The Plaintiff through counsel, informs this Court that a settlement has been

reached with Enhanced Recovery Company, LLC and Plaintiff’s counsel expects to

submit the necessary filings to dismiss this Defendant within 21 days.

                                      Respectfully Submitted,

                                      ADAM G. TAUB & ASSOCIATES
                                      CONSUMER LAW GROUP, PLC

                                By:   s/ Adam G. Taub_________
                                      Adam G. Taub (P48703)
                                      Attorney for Leroy Poole
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                                      Southfield, MI 48075
                                      (248) 746-3790
                                      adamgtaub@clgplc.net

Dated: July 7, 2021



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                                Certificate of Service

      My name is Adam G. Taub and I am an officer of this Court. On July 7, 2021,

I served all parties entitled to notice with the foregoing document by electronic filing

and service to each record address.


                                        Respectfully Submitted,

                                        ADAM G. TAUB & ASSOCIATES
                                        CONSUMER LAW GROUP, PLC

                                        By:    /s/ Adam G. Taub
                                               Adam G. Taub (P48703)
                                               Attorney for Leroy Poole
                                               17200 West 10 Mile Rd. Suite 200
                                               Southfield, MI 48075
                                               Phone: (248) 746-3790
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Dated: July 7, 2021




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